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                            UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF CONNECTICUT
                                  BRIDGEPORT DIVISION

    In re:                                            Chapter 11

    HO WAN KWOK et al.,                               Case No: 22-50073 (JAM)

                          Debtor.                     Jointly Administered


    HO WAN KWOK,

                          Movant,

    v.

    LUC A. DESPINS,
    CHAPTER 11 TRUSTEE

                          Respondent.

         REPLY IN FURTHER SUPPORT OF MOTION FOR PROTECTIVE ORDER

             The individual debtor, Ho Wan Kwok (the “Debtor”), through his undersigned counsel,

hereby submits his reply in further support of his Motion for Protective Order (Doc. No. 1063)

(the “Motion”) seeking to preclude the disclosure of the Asylum Application1 to the Trustee. The

Chapter 11 Trustee’s Response in Opposition to the Motion (Doc. No. 1105) (the “Objection”)

conspicuously ignores the clear language of the Consent Order and federal regulation. Therefore,

the Motion should be granted. In further support of the Motion, the Debtor respectfully states as

follows:

I.           The Trustee Ignores the Clear Language of the Consent Order

             1.    Unsurprisingly, given his predilection for ad hominem attacks, the Trustee begins



1
  Capitalized terms herein shall have the same meaning as in the Motion, unless otherwise
indicated.
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the Objection by making a thinly-veiled accusation that the Debtor has not been forthright with

the Court. (Objection, ¶ 2.) However, it is the Trustee who ignores the clear language of the

Consent Order. The Trustee relies upon Paragraph 2 of the Consent Order to argue that the Debtor

cannot claim any privilege as to the Asylum Application. However, the Trustee conveniently reads

Paragraph 2 in isolation and ignores the Consent Order’s language that applies specifically to the

Asylum Application.

       2.      Paragraph 2 of the Consent Order identifies certain privileges that belonged to the

Debtor and transferred to the Trustee (defined in the Consent Order as “Trustee Privileges”).

Paragraph 2 limits Trustee privileges to “attorney-client privileges[s] or work product protection[s]

that could otherwise be asserted by the Debtor . . . concerning [Investigation Topics]” (as defined

in the Consent Order).

       3.      By contrast, Paragraph 4 of the Consent Order specifically (i) applies to the

Debtor’s Asylum Application; (ii) extends to all privileges (not just the attorney-client and work

product privileges) and (iii) acknowledges that the substance of the Debtor’s Asylum Application

is not an Investigation Topic. Paragraph 4 provides:

       Nothing herein shall prevent the Debtor from asserting any and all privileges
       concerning legal matters unrelated to the Investigation Topics, such as
       unrelated criminal allegations or the Debtor’s asylum application (other than
       documents related to the litigation styled as Guo Wengui v. Clark Hill, PLC, Case
       No. 19-cv-03195 (D. D.C.) [(the “Clark Hill Action”)] that relate to the merits of
       the legal malpractice action, as distinguished from the merits of the Debtor’s
       asylum application, subject to the balancing test incorporated herein, which does
       not relate to the substance of the asylum application).

(Consent Order, ¶ 4.) (emphasis added). Thus, Paragraph 4 of the Consent Order makes clear that

the Debtor retains his rights to assert any and all privileges related to the merits of the Asylum

Application.




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       4.      Although the completed version of the Asylum Application was not technically

protected by the attorney-client privilege once it was submitted to the government for

consideration, the Asylum Application is, nonetheless, protected from disclosure by federal law,

and specifically, 8 C.F.R. § 208.6(a). Therefore, it is privileged from disclosure. Because only the

attorney client and work product privileges transferred to the Trustee under the Consent Order,

and only with respect to Investigation Topics (and even then, only when the personal harm to the

Debtor from disclosure did not outweigh the Trustee’s interest in obtaining the document or

information)—and the Debtor retained all other privileges, including privileges that concern the

substance of the Asylum Application—the Consent Order precludes disclosure of the Asylum

Application to the Trustee.2

    II. The Substance of the Asylum Application Is Not at Issue in the Malpractice Action

       5.      The substance of the entire Asylum Application is not at issue in the action

captioned Guo Wengui v. Clark Hill, PLC, Case No. 19-cv-03195 (D. D.C.) (the “Malpractice

Action”). Rather, the primary issue is whether Clark Hill, PLC (“Clark Hill”) committed

malpractice, breached its fiduciary duties, and/or breached its contract for legal representation by

failing to maintain adequate security to protect the Asylum Application from being publicly leaked

by a data breach. Moreover, to the extent the Malpractice Action concerns damages, i.e., the

emotional distress that the Debtor suffered from disclosure of certain portions of his Asylum

Application into the public sphere, the Trustee presumably can obtain that information from the

public sphere. Regardless, and more importantly, the Trustee’s interest in obtaining the Asylum



2
  In his Objection to the Motion, the Trustee cites and attaches emails in which the Debtor’s
undersigned counsel stated that the Asylum Application is not privileged. (E.g., Objection, ¶ 34.)
However, that statement implicitly referred only to the attorney-client privilege, and was made
before the undersigned, who is not an immigration attorney, had spoken with immigration counsel
and was not aware of 8 C.F.R. § 208.6(a).

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Application, whatever it may be, certainly does not trump the federal protections that preclude

disclosure of asylum applications to third-parties or the substantial personal harm that the Debtor

will suffer from additional disclosure of his Asylum Application. See Consent Order, ¶ 7

(requiring a balancing test weighing personal harm to the Debtor against the Trustee’s interest in

obtaining privileged information).

       6.      Moreover, after the Trustee’s counsel acknowledged that the Subpoena, among

other subpoenas, “could be read to include . . . [the Debtor’s] asylum application”, he “[made]

clear on the record that [the Trustee was] not seeking to get that type of information and we’ll limit

that request accordingly.” (Tr. 8/30/22, at 110: 20-111:2 (Bassett, N.).)

       7.      Finally, neither Clark Hill’s data breach nor Clark Hill’s more limited disclosures

under seal in the Malpractice Action constitute a waiver of the Debtor’s privilege or rights as to

the Asylum Application. 8 C.F.R. § 208.6(a) (“Information contained in or pertaining to any

application for . . . asylum . . . shall not be disclosed without the written consent of the applicant,

except as permitted by this section or at the discretion of the Secretary [of the Department of

Homeland Security.”).3

III.   8 C.F.R. § 208.6(a) Is Not Limited to the Government

       8.      Nothing within the text of 8 C.F.R. § 208.6(a) limits its application so as to only

preclude disclosure of an asylum application by government actors. Rather, only certain

exceptions to the general prohibition against disclosure of an asylum application in 8 C.F.R. §

208.6(a) apply only to government actors. E.g., 8 C.F.R. § 208.6(c) (“This section shall not apply

to any disclosure to: (1) Any United States Government official or contractor having a need


3
   8 C.F.R § 208.6 and § 1208.6 are substantively identical, except that § 208.6 authorizes the
Secretary of Homeland Security to authorize disclosure of an asylum application and § 1208.6
authorizes the Attorney General to authorize disclosure.

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to examine information in connection with. . . .”) (emphasis added). Clearly, the Department of

Homeland Security demonstrated that it knows how to limit a regulation’s application to

government actors—and it chose not to do so in 8 C.F.R. § 208.6.

       9.      Further evidencing the intent of 8 C.F.R. § 208.6, the “Federal Regulation

Protecting the Confidentiality of Asylum Applicants Synopsis” (the “Synopsis”), which is attached

hereto as Exhibit A, expressly states that third parties who receive an asylum application are bound

by the confidentiality regulations. See Synopsis, Frequently Asked Question 2, at p. 3 (“In general,

asylum-related information must not be shared with third parties without the asylum applicant’s

written consent or the Secretary of Homeland Security’s specific authorization.”); Frequently

Asked Question 7, at p. 4 (Q: If asylum-related information is properly disclosed to a third party

pursuant to the regulation, what is the third party’s obligation with respect to confidentiality? A:

As the new custodian of the asylum-related information, the third-party recipient is bound by

the confidentiality regulation under 8 CFR 208.6.”) (emphasis added).

       10.     The Trustee relies upon a single case for the proposition that 8 C.F.R. § 208.6

applies only to government actors, Al Otro Lado v. Mayorkas, No. 3:17-cv-02366-BAS-KSC, 2021

U.S. Dist. LEXIS 68380, at *22 (S.D. Cal. Apr. 7, 2021). However, that case, which is not

controlling, is not persuasive in light of the foregoing. In Al Otro Lado, the parties did not dispute

that the regulation applied only to government actors, and the Court accepted their agreement

without analysis. Here, the issue is disputed, and the Court should resolve the issue by looking to

the clear language of 8 C.F.R. § 208.6 and the Synopsis attached hereto.

       11.     WHEREFORE, the Debtor respectfully requests that the Court grant the Motion

and enter an order precluding the disclosure of the Asylum Application to the Trustee.




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Dated at Bridgeport, Connecticut on this 29th day of November, 2022.

                                           THE DEBTOR,
                                           HO WAN KWOK

                                           /s/ Aaron A. Romney
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 LUC A. DESPINS,
 CHAPTER 11 TRUSTEE

                      Respondent.

                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 29th day of November, 2022, copies of foregoing Reply in

 Further Support of Motion for Protective Order was filed electronically. Notice of this filing

 will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by

 mail to anyone unable to accept electronic filing as indicated on the Notice ofElectronic Filing.

 Parties may access this filing through the Court’s CM/ECF System.

                                             THE DEBTOR,
                                             HO WAN KWOK

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